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                                             SO UTHERN D ISTRICT O F FLOR IDA

                                             CASE NO .16-20893-CR-M ORENO
 UNITED STATES OF AM ERICA ,

               Plaintiff,
 V S.

 M ONTY R AY G RO W ,

               Defendant.
                                         /


                                ORDER REOUIRING RESPONSE
         THIS CAUSE cam ebeforetheCourtupon defendant'smotion to com pelthe government

 toproduce(i)documentsproducedtothegovernmentbyPatientCareAmerica(1TCA'')pursuant
 to PCA 'S lim ited w aiver of its attom ey-client privilege, ID.E.#391 and the Courtbeing fully

 advised in theprem ises,itis

         ORDERED and ADJUDGED that the Govem m ent respond to defendant's m otion to

 com pelno laterthan Septem ber21,2017.

         Defendant'smotiontocompel(ii)witnessandexhibitlistsandanyJencksmaterialthirty
                                                                                         '
 daysin advanceofthe October16 trialdate isDENIED .                                          <.       r
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                                                                                       .          >z
         DONE and ORDERED in M iam i-Dade County Florida, this                 x-        day of   ,
 2017.
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                                             UN :D STATESblsTluc'
                                                                rJUDGE
 Copiesfurnished to:
 A 11counselofrecord
